CaSe 1212-CV-10818-TLL-CEB ECF NO. 9-2 filed 01/28/13 Page|D.SB Page 1 Of 11

 

 

(POLICE REPORT) ,

 

 

CaSe 1212-CV-10818-TLL-CEB ECF NO. 9-2 filed 01/28/13

H.&m§ion Twp. Po|ice Dept. 989-892-0571
7¢§§ W. Center Road, Essexville Nli, USA

Page|D.S€ Page 2 of 11

 

incident No: 08-003631
Open

 

 

Status:

 

 

 

Dat§'Repcrted: 09/25/2008 Time Reported: 22:47

 

Arrivaf Tl`me: Cfear Time: 06100

Disparch Time: 22:47 22:57

 

owicers; PLETZKE ESTEHHAl

 

Classi§cation; V¥OLAT}ON OF CONTROLLED SUBSTANCE -- (3500~1)

 

955 TAcEv DR.

Section / th:

 

Location:

VCSA

C§erk: DDP

 

Description:

Complainant / Witness:
TOB|AS, ALEXANDREA HENEE
955 TACEY DR.
ESSEXV|LLE, NH 48732

White

05f25/1 992

DO B:
(989) 392-3962 (Main)

Phone:

Race: Sex'. Female 7

Suspect/ Owner:

l TOBIAS, JOHN ANTHONV
l 955 TACEY DR.
ESSEXVILLE, Ml 48732

T i20 429 067 689 / MI

WhitE Sex: MHIE
5‘09" Weighr: 158 lbs.

09/04/‘! 964

(989)`415-6265 (cezl)
157254EA1

Eyes: G reeb
Cornp|ex: Dafk

DOB:

 

Phone:
FB| No:

Hair; Bro\ryn
Build: Medlum

Ops:

Flace:
Height:

Witness;
TOBEAS, TRAV|S JOHN
1445 N. WAGNER RD.
ESSEXV|LLE, MI 48732

White

06/22/1994
(939) 22@6938 (Cel!)
(989) 992-0711 (Main)

DOB:

Phone:

Phone:
Male

Fiace: Sex:

386-84-961 4

Soc_ Sec.:

1234988)(

Unknown
of Community

S|D NO.'

Ei'hnici‘ty:
F|esident

 

l P:operty:
j 1) PRESCR!PTION BOTTLE - MARIJUANA SE-EDS

i m NQ; 08-003631-021 C¢ass; Drugs/Narcorics
Tracking: Loss Type: Seized

 

Narcotics/Drugs

Type:
Marijuana

Drug Type.'

 

 

 

 

Evidence: -
1} 9 Suspected Marijuana Plants

100305 Category: EVidel'lCe
Loss Type§ Seized

Subz;m'tted on:

Tag No.'
Submitted by:

Tracking;

Type; Narcotics/Drugs
Drug Type: Ma|°ijual`la
eis weight 9.00 Number of Plants

 

2) 3 Marijuan Pfants

100307 Submirted on;

Category: EVidEl"lCe
Submir£ed by:

Tag No;
Loss Type: Seized

Trackl'ng:

, Type; Narcotics/Drugs
f Drug Type: Marijua|‘la '
' moss Weagm: 3.00 Number of Plants

09/25/2008
LT. WEDD¥N

09/25/2008
LT. WEDD|N

 

f Reviewed By:

 

 

_,§§n_@¢f
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09[2652008

Date Printed:

 

 

CaSe 1212-CV-10818-TLL-CEB ECF NO. 9-2 filed 01/28/13 Page|D.S? Page 3 Of ll
' incident No: 08-0{}3631

 

-Haseap.i'on Twp. Police Dept. 989-892-0571

755 W. Center Road, Essexvi!le Mi, USA Page NO: 2

 

 

Evic§nce (cc)ntinued):
3) GATEWAV COMPUTER
- 09/25/2008

`i`ag No: 1 00308 Category: EVidenCe Submitted on.
Tracking: LOSS Type: SelZed Subm'ltted by: LT. WEDDIN

Type; General Property
Make: GATEWAV

Mode|: GPS-SSO

S_erial No: 0012350514

4) COMPAQ COMPUTER

Tag Nc): 100309 Category: EVidEHCe Submitted on: 99/25/2008
Tracking: Loss Type: SElZEd Submitted by: LT. WEDDlN

Type; Genera| Property
Make: COMPAQ

Mod@|: 163881-004

Seriaf No: 1XU1DCTXH47A

5) CHAMPION SINGLE SHOT SHOTGUN _
Tag No: 100310 Category: E‘Vide!'lce Submi¥ted on: 09/25/2008

E`rackl`ng: Loss Type: SeiZed Submittec! by: LT. WEDDlN

Type; Firearms/Guns
Ma?<e: CHAMPlON Type: ShOngn, Sin§le-Shot [SS]
SeriaiNo: 39509

6) GREAT LAKES CROSS BOW
Tag No: 100311 Category: EVidEnCe Submit£ed on: 09/25/2008

Tracking: Loss Type: SelZEd Submitted by: LT. WEDD|N

Type; General Pro erty
Make: GREAT LA ES
Seria|No: 001997027811

Notes: WITH NIKE SCOPE

7) WHITE STRA|NER CONTA§N|NG MAR|JUANA

'i'ag No: 100312 - Category: EVidBHCE Submitted on: 09/25/2003
Trackl`ng: Loss Type: Seized ' Subml`tted by: LT. WEDD|N

Type;' Narcot§ps/Drugs
DrugType; Marljuana

8) 49 .12 GAUGE SHOTGUN SHELLS AND CASE

Tag No: 100313 Category: Evidence Submitted on: 09/25/2008
Tracking: Loss Type: SefZBd Submifced by: LT. WEDDIN

Ty'pe; Genera| Property

`9) 4 MARlJuANA sTEMS
Tag No: 100314 Category: EVidenCe Submitted on:' 09/25/2063
Tracking: Loss Type: SeiZed Submitted by: LT. WEDD{N

Type: Narcot§_cs/Drugs
` Dfug Tyz)e: Manjuana
Gross Weight: 430 Number of Plants

 

 

 

 

Cec\.-'riczh€ fci feaa-2098 bv DDP Pol}ce Services. Inc.

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Ham;on Twp. Police Dept. 989-892-0571

 

|ncident No: 08-003631

 

 

 

745 W. Center Road,¢ Essexvil|e Mi, USA Page NO; 3
Evio%nce (continued): -
TO) CROSSMAN AlR GUN WlTl'l SCOPE
Tag No: 109315 Category; l EVid&nCE Submitted on: 09/25/2008
Tracking: Loss Type: Seized Submitted by: LT. WEDDIN
'?ype: Firéarms/Guns
Make: CROSSMAN Type:
Mode|: AIRGUN Ca|iber: Barre! Length: Shots:
SerialNo: 48222188'§
1 1) 17 mARiJUANA PLANTS AND RooTs `
Tag No: 100316 Category: EVldenCe Subml'tted on: 09/25/2003
Tracking: Loss Type_' SEiZEd Submitted by: LT. WEDDlN
Type: NBFCOthS/DI'HQS
Drug ?ype: ME|‘]}UH|"|E
Gross Weight: 17.00 NLImbEY Of Pfant$
12) SMALL AMOUNT OF MAR|JUANA
Tag No: 100317 Caiegory: EVidERCE Submitted on: 09/25/2008
'Tracking: §_055 Type: S€iZed Submitteci by: LT. WEDDlN
Type: Na_rcotics/Drugs
Drug Type; Mai'ijuai'la
13) 2 PA¥F{ OF SClSSORS 81 AT & T CELLPHONE
Tag No: 100318 Category: EVfd&flCe Submitted on: 99/25/2008
Tracking: Loss Type: SeiZEd Submfl‘ted by: LT. WEDDlN
Typ¢.- General Property
14] VERIZON CELLPHONE (JOHN'S)
Tag No: 'l 00319 Category: EVidenCe Submitted on: 09/25/2008
Tracking.' Lcss Type.' SeiZed Submitled by: LT. WEDDIN
Type: General Property
15) GF\'EEN FUR!O PLATE WITH MAR|JUANA FlESlDUE & ROACHES
Tag No: 100329 Category: EVidenCe Submitted on; 09/25/2008
Tracl<ing; Loss Type; Seized Submmed by: LT. WEDDIN
Type: Narcotics/Drugs
Drug Type: Marfjual'}a
16_} 4 MAH§JUANA ROACHES
Tag No: 100321 ' Category: EVid&nCe Submitted on: 09/25/2008
T:a<;king: Loss Type; SEiZed Subrnitted by: LT. WEDDIN
Type; Narcotics/Drugs
Drug T\,rpe: Mal‘fjuana `
Gmss Weight; 4.00 Dosage Units / ltems
17) WHITE HEAT LAMP, BULB AND POWER BOX
Tag No: 100322 Category: E\Iideflce Submitted on: 09/25/2008
Loss Type: SeiZed Submitted by: LT. WEDDlN

Tz'acking:

Type: Genel'al Pl'O§el'fg
Make: SUMLIGHT UP LY, lNC.
Serial No: 073020031 1316227

 

 

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H;imptbn Twp. iPo`ii_ce Dept. 989~892-0571
745 W. Center Road, Essexvii|e Mi, USA

 

incident No: 08-00363f

 

Page No: 4

 

 

Evid%nce {continued):

Category: Evidence

1 00323
Loss Type: SEiZed

Tag `Ne:
Tracking:
General Property

RED NYLON BAG WITH .20 SHOTGUN SHELLS
PACKAGE OF HMR CAS|NGS .17 CAL

Type:
Notes:

19) PELOUZE DlG|TAL SCALE

1 00324 Category: EVidef\Ce

Tag No: _
Loss Type: SEIZEd

Tracking:

Generaf Property
PELOUZE
PE5 DC-3704

Type:
Make:
Mode|:

20) SMALL AMOUNT OF MAF!|JUANA LEAVES

'l 00325 Category: EVfdel'lCe

Tag Nci:
LOSS Type: SElZ€d

Tracki`ng:

Narcotics/Drugs

‘ Type; __
Mari]uana

Drug Type:

Category". EVfClE|"lCE

100326
Loss Type: SElZed

Tag NO:
Tracking:

Type: General Property

22) GREEN MAH|JUANA PlPE WiTH ASHES

109327 Category: EViClenCE

Tag No;
Loss Type: S€lZed

Tracking:

Type; General Property

23) BLUE & GOLD METALL!C PEPE

100328 ca:egory; Evidence

Tag No:
Loss Type: Seized

T:acking:
Type: General Property
24) 2 FlNGER NA!L CLIPPERS

100329 category Evidence

Tag No.'
Loss Type: SEiZeCl

Tracking:

Type; Genera! Property

21) EMPTY MEIJER PRESCR|F"T|ON BO'|TLE NlCHOLE GERHAHDT

18) 30 CALIBER ARMOUR PIERCING SHELLS, BLUE CONTA|NEH .‘lTCAL AMO
Subm§tted on:
Submitted by:

Submitted on:
Submitted by:

Submit£ed on:
Submitted by:

Submil'ted on:
Submitted by:

Submitted on.'
Submitted by:

Submitted On:
Submii‘ted by:

Submitted on:
Submitted by:

09/25/2008
LT. WEDD¥N

09/25/2008
LT. WEDDIN

09/25/2003
LT. WEDD|N

09/25/2008
LT. WEDD|N

09/25/2008
LT. WEDD!N

09/25/2008
LT. WEDD!N

09/25/2008
LT. WEDD!N

 

Origina| Narra?l‘ve:

SUBMITTED BY:
Officer Nicho|as ' Pletzke #021
Ham;)ton Township Police Department

VENUE:
955 Tacey Drive .
Essexviiie, -Hampton Township, Bay County, Michigan

 

 

boDVTiuht lcl 5988-2008 bv DDP Police Services. |nc:.

 

 

 

Case 1:12-cv-10818-TLL-CEB ECF No. 9-2 filed 01/28/13 PagelD.QO Page 6 of 11

 

!hcidant No: 08-003631

 

Hainpton Twp. Porice Dept. 939-89`2-0571

7¢¥5 W. Center Road, Essexville l'llli, USA Page NO; 5

 

 

Orig§,’)a| Narrative (continued):

DATE/TilviE: 7
26th of September, 2008 at approximately 10:48 p.rn.

SYNOPSIS: _
On the above listed date and time, i was dispatched to the above address for father daughter

domest`ic. A_fter arriving on scene, l made contact with John Tobias. l advised him that we were here to
talk with his daughter. i-le asked what fdr. l replied due to an argument that they were having. John then
yeiied upstairs to his daughter Aiexandrea. Upon making contact, l observed her to be visibly upset and

crying. l interviewed her at my patrol car.

 

ENTERVIEW OF COMPLAINANT/ ViCTll\/l (ALEXANDREA RENEE TOBlAS), on 09-26-2008 next to my
patroi car. She gave the following information

~~- After school l went to my boyfriends house
!Vly dad cailed me and said that l needed to come home right now.

He then started to yell at me over the phone because l supposediy put minutes on my phone with his
debit card.

--- l did not do no such thing.

i came home and went right up stairs.

--- I-le foltowed me upstairs

--- i-le started to yell at me again. '

He went downstairs and came back up shortly after with the phone bili.

--- We started to argue again.

1-- He was asking me if l cailed my mother and what did i tell her.

 

 

l told him that l told her everything

--- itoid her about the weed growing and everything

ne started to trick and punch the wave

l~le then kicked me in the butt and hit me across my face with a piliow.
~-- l-le grabbed my arm and twisted it.

»~- Now my arms hurts and l am bleeding.

 

 

 

 

 

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incident No: 08-003531
Page i\lo: 6

 

 

newton Twp. Poiice Dept. eeo-sez~osrr
745 W. Center Road, Essexvi`ile Nli, USA

Origictal Narrative (continued):

He told me to pack all of my shit tonight.

 

 

i-le then told me that l was not going to school tomorrow because i was leaving to go live with my

mother.

~-- i-le left my room and l called you guys.

AooirioNAL iNFonMATioN; _
Atter speaking with Alexandrea, l made contact with dohn at his front door. l advised him that his

daughter would iike to go and stay at her boyfriends friends house tonight. At first John stated that he
would rather that she did not. After rethinking about it, he stated that he wcuid allow it. Aiexandrea asked
it l could follow her upstairs and stand by while she packed some belongings Upon entering the
residence, l could smell a strong odor of what appeared to be marijuana As l. was walking up the stairs,
the odor became stronger. As l passed the first bedroom, l observed a male subject, identified as Travis
Tobias sleeping

As Alexandrea was gathering some beiongings, Travis woke up and Walked out of his bedroom. He
stated “your going to want to see this pointing to the bathroom door. He then walked over to it and opened
it revealing in contents in plain view. l observed what appeared to be marijuana piants growing in the
bathroom. _
Upon observing the above, l yelled down to Offlcer Esterhai stating to grab onto John. Due to
Officer Esterhai's position outside the residence, he was unable to hear me cleariy. As i proceeded down
stairs to assist Officer Esterhai, l observed Otiicer Esterhai foot chasing John westbound from his
residence

l then returned back into the residence to secure it. l advised Alexandrea and Travis to come
downstairs where they_were put in the back seat_of my patrol car for satety. i then advised dispatch of the
situation and asked for additional units to respond KQ unit Trooper Escott arrived on scene sometime

later to track dohn. Tracking was unsuccessful.
Dl-lS was cailed in for the welfare of the chiidren. DHS later turned the children over to their

grandfather. K9 unit attempted a second track, but again was unsuccessful.

WiTNESS STATEMENT FORMS:
See attached statements from Alexandrea and Travis.

SEARCH WARRANT:
At approximately 3:00 a.m., l met with Prosecuting attorney Kurt Asbury to obtain a search warrant

on the residence At approximately 3144 a.m., l met with dudge Keily to sign the warrant At approximateiy
4:00 a.m. l returned to the residence to execute the search warrant At this time Officer Esterhai, Dobbyn,
. and myseif entered the residence through the front garage door. We searched the garage which is a single
car attached with finding no contraband We then entered a small entry way which led to the main area of
the kitchen and iiving rcom. As i was checking the cupboards l located two small amounts of suspected
marijuana underneath the kitchen sink. The marijuana was then gathered and placed into an evidence bag
at the scene. A picture was taken before the marijuana was removed As we were all in the kitchen, a dog
was chewing on a suspected marijuana stern, this also was placed into evidence with two other stems that
were on the iiving room iloor. We then entered a bedroom which appeared to be the master bedroom of

 

 

 

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-Hampton Twp. Police Dept. 989-892-05'71 incident he os-cosesi
74`5 W. Center Road, Essexville Mi, USA _ rage ne 7

 

CaSe 121-2-CV-10818-TLL-CEB ECF NO. 9-2 filed 01/28/13 Page|D.92 Page 8 Of 11

 

 

 

 

Original Narrative (continued):
the residence At this time officer Esterhai began searching a clothing dresser. On the top right hand side
of the dresser he located a digital scale, two marijuana pipes a smaii amount of marijuana prescription
bottle containing marijuana seeds, two finger nail ciippers, and a smali amount of marijuana leaves
Pictures ot these were taken, the items were confiscated and piaced into evidence bags _
Whiie searching the bedroom we located approximately 17 marijuana plants and stems/roots on top
of the bed underneath the bed comicrter. Aiso laying next to the plants and stems was a white strainer
containing marijuana buds. These items were confiscated and placed into evidence bags. Aiso confiscated
was a crossbow, shotgun, and bb gun that were laying in the corner. Arnm unition of different caiibers were

confiscated from a bedroom dresser.

 

 

Once in the'llving room we located a green plate that was sitting on top of the computer desk that

 

contained a small amount ct marijuana with roaches. Pictures were taken of these and then placed into
evidence bags Two computer towers were also confiscated We then went upstairs and located nine
marijuana plants that were growing in buckets along with a heat lamp and power invertor in a bathroom
Pictures were taken of these prior to removal. We then confiscated the plants and ieft the buckets

Once the house was cleared when then went into the backyard and searched an outbuilding We
located three marijuana plants inside and confiscated them. Pictures were taken prior to removal. Once
all the evidence was collected and secured, a copy of the search warrant was placed on the kitchen table

The house was secured

EVlDENCE:
Once as the station, ail ot the evidence was removed from the patrol vehicles Photographs were

 

again taken of the evidence as well as a tabulation conducted. Officer Esterhai filled out the tabulation
sheet and l photographed all of the evidence See attached photographs

 

 

 

 

 

ARRESTED: `
On 09-26-2008 i_t. Wedding and l arrived at the residence for foilow up. As we were walking up to

the residence l heard what sounded like a window closing l went to the back of the residence As l was
standing there John's dog jumped out an open window and began running around i advised the dog to
"find him, find him." The dog took off towards the ditch line to the rear of the residence The dog the
began running back and forth on the ditch ilne. l observed John_to be hiding up against a tree at the
bottom ct the ditch. i ordered John to put his hands up and walk towards me slowly.

i_t. Wedding then placed John under arrest. He was handcuffed behind his back. The cufis were
checked for tightness and doubie locked John was placed in the rear of patrol car 7-6.

iNTEFiViEW OF SUSPECT (JOi-ii\l ANTHONY TOBIAS):
See attached supplemental report from Lt_. Weddlng.

 

 

 

ElPHOTOGRAPl-l$:

See attached

STATUS: tot Prosecutor

 

 

prrighr (¢j lees-2008 by ooP notice servicesl ina

 

Ca-Se lilZ-CV-lOSlS-TLL-CEB ECF-NO. 9-2 ‘filed 01/28/13 Page|D.QS Page 9 Of 11

 

 

Hampton Twp. Police Dept. 989-892-0571 incident Ng: 08-003631
745 W. Center Road, Essexville Mi, USA r>age ivo; s

 

 

Original Narrative (continued):

 

Officer Nicholas Pietzke #021
Hampton Twp. Poiice Dept.

 

SUPPLEMENT FiEF'OFiT, dated 09/25/08, by Officer ESTERHA|:

INFORMATION:

On September 25th, 2008, at approximately 10:47 p.m., Otiicer Pietzke and l were dispatched to
955 Tacey Dr. for a father daughter domestic. On scene we met with the father, John Tobias, and his
daughter, Alexandria Tobias. Alexandria was visibly upset and crying, Officer Pletzke Spcke With her near

his patrol car while l spoke with John outside his residence

John stated he found out today that Aiexandria had taken his credit card and bought minutes for a
prepaid cell phone without his knowledge John stated he confronted her and that a scutile ensued John
stated that he never grabbed or touched Alexandria. but that he did hit her with a pillow.

After a couple of minutes, Officer Pletzke and Aiexandria returned Alexandria asked if she could go
to her boyfriends house for the night to let things cool oif. At first .iohn stated rio but decided that she could
go for the night Alexandria then asked if Officer Pletzke could walk with her to her bedroom while she
gathered some items for the nightl l then remained outside with John while Officer Pletzke went inside the
residence with Alexandria. After a couple of minutes l could hear Officer Pletzke yelling down to me At
this time l could not understand what he was saying Officer Pletzke stated in a loud voice to "Grab onto
him!" John immediately took off running westbound from his residence l pursued John yelling at him to
stop running John continued to run through a garden that contained corn stalks. While chasing after John,
l slipped on the ground and lost sight of him. l then radioed to central dispatch to get additional units to
this location. Aiter several minutes Officer Dobbyn EPSD, and Deputy Smithers BCSO,arrlved to help set
up a perimeter. l ordered several times for John to come out with his hands up, but got no response

, At this time Officer Pietzke advised me of the marijuana plants inside the residence Officer P|etzke
stayed and secured the house while | looked for John. K9 unit Trooper Escott of lvlSP arrived on scene to
track John. After several minutes Trooper Escott was unable to find John.

After not being able to locate John l returned to the house to secure lt while Officer Pletzke made
another attempt to find John with K9. After another unsuccessful attempt, Officer Dobbyn and l_secured
the house while Officer Pietzke went and obtained a search warrant for the residence

EXECUTION OF SEARCH WARRANT;

At approximately 4:00 a.m. Officer Pletzke returned with a signed warrant from Judge Kelly. At this
time Officer Pietzke, Dobbyn, and myself entered the residence through the front garage door. We
searched the garage which is a single car attached'with finding no contraband We then entered a small
entry way which leads to the main area ot the house of the kitchen and living room. At this time two small
amounts of suspected marijuana were found underneath the kitchen sink.` The marijuana was then
gathered and placed into an evidence bag at the scene A picture was taken before the marijuana was
removed As we were all in the kitchen, a dog was chewing on a suspected marijuana stem, this also was
placed into evidence with two other stems that were on the living room floor. We then entered a bedroom
which appeared to be the master bedroom. At this time l began searching a clothing dresser. On the top

 

 

 

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CaSe 1212-Cv-10818-TLL-CEB ECF NO. 9-2 filed 01/28/13 Page|D.94 Page 10 Of 11
incident i\lo: 08-003531
9

 

i-_lantpton Twp. Police Dept. 989-892-0571
745 W. Center 'Road, Essexville Mi, USA sage na-
SUF~PLEMENT HEPORT, dated 09/26/05, by Officer ESTERHAi (continued):

right hand side of the dresser l located a digital scale two marijuana pipes, a small amount ot marijuana

prescription bottle containing marijuana seeds, two finger nail clippers, and a small amount of marijuana
leaves Pictures of these were taken, the items were confiscated and placed into evidence bags.

 

 

 

While searching the bedroom we located approximately 17 marijuana plants and stems/roots on top
of the bed underneath the bed comforter. Also laying next to the plants and stems was a white strainer
containing marijuana buds. These items Were confiscated and placed into evidence bags. Also confiscated
was a crossbow, shotgun, and bb gun that were laying in the corner. Ammunition of different calibers were

confiscated from the bedroom from a dresser.

Once in the living room we located a green plate that was sitting on top of the computer desk that
contained a small amount of marijuana with roaches. Pictures were taken ot these and then placed into
evidence bags. Two computer hard drives were also confiscated . We then went upstairs and located nine
marijuana plants that were growing in buckets along with a heat lamp and power invertor in a bathroom.
Pictures were taken of these prior to removal. We then confiscated the plants and left the buckets

Once the house was cleared when then went into the backyard and searched an outbuilding. We
located three marijuana plants inside and confiscated them.

DlSPOSlTiON:

TOT Prosecutors Office.

 

|NTERVlEW W|TH SUSPECT, dated 09/26/08, by Officer LT. WEDDING:
l|\lTEFiVlE\/V W|TH SUSPECT: John Tobias

On 9-26-08, l went with Officer P|etkze to 995 Tacey Drv for a follow up. Whiie at the residence we met
With a BFilAN MORGAN who was leaving the residence We inquired if JOi-ll\l TOBlAS was there and he
replied that he wasn't. After speaking with MOFiGAN, we noticed that it appeared that TOBiAS had
returned to his residence at some point, When we went around to the back ot the house we observed two
back windows open. We observed a dog in the window and the dog jump outside Otlicer Pietzl<e
began telling the dog to-"find him". The dog went along the edge `of a ditch (north side) which is located to
the south of residence Officer Pletzke then spotted TOBlAS down in the ditch and gave him verbal
instructions to come up. TOB|AS complied and came out of the ditch. He was then placed under arrest
and handcuffed at 7:50am. As we were walking to patrol vehicle he asked if he could sit at the picnic
table and be with his dog for a minute. After he sat down, | read the miranda rights (7:53am) at which he
waived. [lt should be noted that l had attempted to turn on my in-car camera system microphone before
this but didn‘t realize l hadn’t activated the on switchj Upon realizing this, l activated the in-car camera
system microphone and recorded the interview. During the interview JOl-iN disclosed the following:

l-le and his daughter got in an argument about her using his Visa Debit card for celiphone minutes
She wasn't being truthful with him when confronted about it.
At one point, he hit her with a pillow_

l-ie denied hitting her with anything else

 

 

 

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CaSe lilZ-`CV-lOSlS-TLL-CEB ECF NO. 9-2 filed 01/28/13 PagelD.QB Page 11 Ol 11

 

incident No: 08-003631

 

uampron Twp. notice nepa 989-892-0571

745 W. Center Road, Essexville Mi, USA sage ucc '-1o

 

 

lNTEFiViEW WlTH SUSF’ECT, dated 09/26/08, by Officer LT. WEDDING-(continued);
i-le has struggled with raising the teens.

Wouldn‘t do it again.

l-le is poor.

Gets assistance each month, food stamps and child supportl

Nioney doesn't mean much to him.

As far as growing the weed, [l asked if it was ali hisj he initially replied "no"

jV\/hen asked if it's his house] he replied "yea".

Commented about finding papers and lighter that TFiAVlS had.

Taiked about options of doing things right or not.

Adrnitted the marijauna was his and he grew it for personal use only; medicinal reasons for his pain.

He has rods in his back and has medication he takes that has turn him into a vegetabie.

The medication is Vicodin and Xanax.
He has been growing marijuana since he was a teenager.

He doesn't sell it to anyone only uses it~ for himself.

Commented about the neighbors doing that.
Figures he grew about a pound and it would last him for a year.

'l_'he shotgun was his, the BB gun was the landlords, the Crossbow was his, the scale was his, the
ceilphones are his, the ammo is his,

l-le uses the scale for weight loss, denied using it for measuring and selling marijuana

 

LopoEp in JAii_; _
l transported TOBlAS to the Bay County Jail where he was lodged. i-lis prescriptions (2) and wallet was

turned over to jail personnei. l-le had no money in his possession.

S`I'ATUS:
TO`i' to the Prosecutor

 

 

 

 

 

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